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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION



DELOISE MCMURRAY, individually, and on                Case No.
behalf of all others similarly situated,
                                                      CLASS ACTION COMPLAINT FOR
                         Plaintiff,                   VIOLATIONS OF THE TELEPHONE
                                                      CONSUMER PROTECTION ACT
           v.

STRATEGIC LIMITED PARTNERS, LP, and                   DEMAND FOR JURY TRIAL
GENUINE DATA SOLUTIONS, LLC

                         Defendants



                                CLASS-ACTION COMPLAINT

       Plaintiff, Deloise McMurray (“Plaintiff”, “Ms. McMurray” or “McMurray”), on behalf of

herself and all others similarly situated, by and through her undersigned attorneys, submits her

Class-Action Complaint against Defendant Strategic Limited Partners, LP (“SLP”) and Genuine

Data Solutions, LLC (“GDS”) (collectively “Defendants”). In support thereof, Plaintiff states as

follows:

                                       NATURE OF THE CASE
       1.       Plaintiff, Deloise McMurray, brings this action individually and on behalf of all

others similarly situated, seeking damages and any other available legal or equitable remedies

resulting from the unlawful actions of Defendants.

       2.       Defendants violated Plaintiff’ and the putative class-members’ rights by placing

solicitation calls to Plaintiff and the putative class members’ residential lines in violation of the

Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, et seq. and the TCPA’s


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corresponding regulations.



                               BACKGROUND ON THE TCPA

       3.      In 1991, after passage with bipartisan support in Congress, President George H.W.

Bush signed the TCPA into law, to protect consumers’ privacy rights- specifically, the right to be

left alone from unwanted telemarketing calls.

       4.      A leading sponsor of the TCPA described telemarketing “robocalls” the “scourge

of modern civilization.” 137 Cong. Rec. 30821 (1991).

       5.      Decades after the TCPA passed into law, it is still unfortunately the case that

“[m]onth after month, unwanted telemarketing calls and texts top the list of consumer complaints

received by the [Federal Communications] Commission.” Omnibus TCPA Order, 30 FCC Rcd.

7961, 7964 (F.C.C. July 10, 2015).

       6.      In fact, in 2021 alone, there were over five million complaints from Americans to

the FTC about unwanted telemarketing calls. Federal Trade Comm’n, FTC Issues Biennial Report

to Congress on the National Do Not Call Registry (Jan. 5, 2022) available at:

https://www.ftc.gov/news-events/news/press-releases2022/01/ftc-issues-biennial-report-

congress-national-do-not-call-registry.

       7.      The private right of enforcement of the TCPA is critical to stopping the proliferation

of these unwanted telemarketing calls. For example, while the Federal Communications

Commission levied over $200 million in penalties against telemarketers between 2015 and 2018,

it collected less than $7,000 of that amount. See Sarah Krouse, The FCC Has Fined Robocallers

$208 Million. It’s Collected $6,790, THE WALL STREET JOURNAL, March 28, 2019,




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https://www.wsj.com/articles/the-fcc-has-fined-robocallers-208-million-its-collected-6-790-

11553770803.

       8.      The National Do Not Call Registry allows consumers to register their telephone

numbers thereby indicating their desire not to receive telephone solicitations at those numbers; and

the registration “must be honored indefinitely, or until it is cancelled by the consumer or the

telephone number is removed by the database administrator.” 47 C.F.R. § 64.1200(c)(2).

       9.      The TCPA and implementing regulations prohibit the initiation of telephone

solicitations to residential telephone subscribers to the Registry and provides a private right of

action against any entity that makes those calls, or “on whose behalf” such calls are promoted. 47

U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).

                                 JURISDICTION AND VENUE

       10.      This Court has subject-matter jurisdiction over the TCPA claims in this action

under 28 U.S.C. § 1331, which grants this court original jurisdiction of all civil actions arising

under the laws of the United States. See Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 386-87

(2012) (confirming that 28 U.S.C. § 1331 grants the United States district courts federal-question

subject-matter jurisdiction to hear private civil suits under the TCPA).

       11.     This Court has personal jurisdiction over Defendants, as both are located and

conduct business in the state of Texas.

       12.     Venue is proper pursuant to 28 U.S.C. §1391(b)(1) and 28 U.S.C. §1391(b)(2).

                                                 PARTIES

       13.     Plaintiff, Deloise McMurray, is a natural person who resided in Kansas City, State

of Missouri at all times relevant hereto.




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       14.     Plaintiff is, and at all times mentioned herein was, a “person,” as defined by 47

U.S.C. § 153(39).

       15.     Defendant SLP is a corporation located in Houston, Texas.

       16.     Defendant GDS is a corporation located in Dallas, Texas.

       17.     Defendants are each a “person” as that term is defined by 47 U.S.C. §153(39).

       18.     Defendants acted through their agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                   FACTUAL ALLEGATIONS

                                    Facts Specific to McMurray

       19.     At all times relevant hereto, McMurray owned a cell phone number (816)-xxx-4502

(“Cell Phone”).

       20.     She used that Cell Phone for primarily residential purposes, such as speaking with

family and friends.

       21.     McMurray’s number was registered to her as an individual, and not to a business.

       22.     McMurray’s registered her number on the Federal Do-Not-Call Registry in or

around November 9, 2022, in order to obtain solitude from unwanted telemarketing calls.

       23.     At all times relevant, McMurray was the sole user and/or subscriber of the Cell

Phone and was financially responsible for phone service to the Cell Phone.

       24.     In Defendants overzealous attempt to market health care plans through OtisHealth,

Defendants willfully or knowingly made (and continues to make) unsolicited telemarketing phone

calls to people registered on the National Do Not Call Registry.

       25.     On multiple occasions, Plaintiff told Defendants to stop calling.




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       26.     Through this conduct, Defendants have invaded the privacy of Ms. McMurray and

members of the Class.

       27.     At no time prior to Defendants first initiating calls to Ms. McMurray did Ms.

McMurray provide her Cell Phone number to Defendants, or through any medium.

       28.     At no time did Ms. McMurray ever enter in a business relationship with Defendants

before the call campaign.

       29.     At no point did Ms. McMurray provide Defendants with her express written consent

to be called for telemarketing purposes.

       30.     Nonetheless, on or around December 27, 2022, Defendant started placing

telemarketing phone calls to Plaintiff’s Cell Phone soliciting healthcare options.

       31.     As a result of the unlawful robocalls, Ms. McMurray experienced frustration,

annoyance, irritation and a sense that her privacy had been invaded.

                         SLP’s Liability for GDS’s Telemarketing Calls

       32.     At all times relevant to this complaint, there existed an agency relationship between

SLP and GDS, with GDS acting as SLP’s agent.

       33.     At all times relevant to this complaint, SLP gave its apparent, if not actual, authority

to GDS to initiate the offending telephone calls, on SLP’s behalf to the Plaintiff and putative class

members.

       34.     At all times relevant to this complaint, GDS acted within the scope and authority

of its agency relationship with SLP by initiating the offending telephone calls on behalf of SLP to

the Plaintiff and putative class members.

       35.     Defendants financially benefitted from their policy and practice of initiating the

offending telephone calls complained of herein.

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       36.     For more than a quarter century the FCC has explained that its “rules generally

establish that the party on whose behalf a solicitation is made bears ultimate responsibility for any

violations.” In re Rules & Regulations Implementing the TCPA, CC Docket No. 92-90,

Memorandum Opinion and Order, 10 FCC Rcd 12391, 12397 (¶ 13) (1995).

       37.     On May 9, 2013, the FCC issued a Declaratory Ruling holding that a corporation

or other entity that contracts out its telephone marketing “may be held vicariously liable under

federal common law principles of agency for violations of either section 227(b) or section 227(c)

that are committed by third-party telemarketers.”

       38.     The FCC’s ruling warned sellers, like SLP, that they may not avoid liability by

outsourcing their telemarketing whims to third parties:


                    Allowing the seller to avoid potential liability by outsourcing
                    its telemarketing activities to unsupervised third parties would
                    leave consumers in many cases without an effective remedy
                    for telemarketing intrusions. This would particularly be so if
                    the telemarketers were judgment proof, unidentifiable, or
                    located outside the United States, as is often the case. Even
                    where third-party telemarketers are identifiable, solvent, and
                    amenable to judgment limiting liability to the telemarketer that
                    physically places the call would make enforcement in many
                    cases substantially more expensive and less efficient, since
                    consumers (or law enforcement agencies) would be required
                    to sue each marketer separately in order to obtain effective
                    relief.

May 2013 FCC Ruling, 28 FCC Rcd at 6588 (¶ 37) (internal citations omitted). “Sellers may have

thousands of ‘independent’ marketers, suing one or a few of them is unlikely to make a substantive

difference for consumer privacy.” Id.

       39.     Even absent evidence of a formal contractual relationship between a seller and

telemarketer, a seller is liable for telemarketing calls if the telemarketer “has apparent (if not

actual) authority” to make the calls. 28 FCC Rcd at 6586 (¶ 34).



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        40.     GDS promoted SLP products in telemarketing calls to generate new paying

customers, and did so, as they did with the Plaintiff.

        41.     SLP was knowingly and actively accepting the business that originated through

GDS’s illegal telemarketing calls for SLP’s mortgage services.

        42.     SLP maintained interim control over GDS’s actions.

        43.     For example, SLP had absolute control over whether, and under what

circumstances, it would accept a customer.

        44.     SLP had day-to-day control over GDS’s actions, including the ability to prohibit

GDS from calling numbers on the Do Not Call Registry.

        45.     The May 2013 FCC Ruling allows called parties to obtain “evidence of these kinds

of relationships . . . through discovery, if they are not independently privy to such information.”

Id. at 6592-593 (¶ 46). Evidence of circumstances pointing to a telemarketer’s apparent authority

“should be sufficient to place upon the seller the burden of demonstrating that a reasonable

consumer would not sensibly assume that the telemarketer was acting as the seller’s authorized

agent.” Id. at 6593 (¶ 46).

                                      CLASS ALLEGATIONS

        46.     Pursuant to Federal Rule of Civil Procedure 23(a), (b)(2) and (b)(3), Plaintiff

brings this lawsuit as a class action on behalf of herself and all others similarly situated. This action

satisfies the requirements of numerosity, commonality, typicality, and adequacy of representation.

        47.     Plaintiff seeks to represent the following class:

                All persons within the United States who from four years prior to
                the date of the filing of this lawsuit to the date of class certification:
                (1) received more than one telephone call from Defendants or
                someone acting on its behalf (2) during a 12-month period; (3)
                where the calls were made in connection with a campaign to solicit

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                 products or services; and (4) whose number was registered on the
                 Do Not Call Registry for more than 31 days at the time the calls
                 were received.


        48.       Plaintiff reserves the right to amend or modify the class definitions consistent with

the record.

        49.       The putative class members’ identities are readily ascertainable from Defendant’s

records or records within Defendant’s control.

        50.      Plaintiff’s claims are typical of the class members, as all are based on the same facts

and legal theories.

        51.      Plaintiff will fairly and adequately protect the interests of the Class defined in this

complaint. The Plaintiff has retained counsel with experience in handling consumer lawsuits,

complex legal issues, and class actions, and neither the Plaintiff nor her attorneys have any interests

which might cause them not to vigorously pursue this action.

        52.      This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules Civil Procedure because there is a well-

defined community interest in the litigation.

        53.      Class Members are so numerous and that their individual joinder of all class

members is impracticable. There are no likely difficulties to be encountered in managing this case

as a class action.

        54.      Common questions of law and fact exist to all Class Members and predominate

over questions affecting only individual Class members. Common legal and factual questions

include, but are not limited to the following:

              a. Whether Defendant’s conduct violates 47 U.S.C. § 227(c) and the
                 corresponding rules and regulations implementing the TCPA; and

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              b. Whether Plaintiff and the putative class members are entitled to
                 increased damages for each violation based on the willfulness of
                 Defendant’s conduct.

        55.      Plaintiff’s claims are typical of the claims of the proposed class members because

her claims arise from the same practice that gives rise to the claims of the members of the proposed

class and is based on the same legal theories.

        56.      Plaintiff will fairly and adequately protect the interests of the class members insofar

as Plaintiff has no interests that are averse to the absent class members. Plaintiff is committed to

vigorously litigating this matter. Plaintiff has also retained counsel experienced in handling

consumer lawsuits, complex legal issues, and class actions. Neither the Plaintiff nor her counsel

have any interests that might cause them not to vigorously pursue this class action lawsuit.

        57.      The class action mechanism is superior to other available means for the fair and

efficient adjudication of this case. Each individual class member may lack the resources to undergo

the burden and expense of individual prosecution of the complex and extensive litigation necessary

to establish Defendant’s liability. Individualized litigation increases the delay and expense to all

parties and multiplies the burden on the judicial system presented by the complex legal and factual

issues of this case. Individualized litigation also presents a potential for inconsistent and

contradictory judgments. In contrast, the class action device presents far fewer management

difficulties and provides the benefits of single adjudication, economy of scale, and comprehensive

supervision by a single court on the issue of Defendant’s liability. Class treatment of the liability

issues will ensure that all claims and claimants are before this Court for consistent adjudication of

the liability issues.

        58.      Defendants are headquartered in this District. This District is therefore an

appropriate forum in which to adjudicate this dispute. Based on discovery and further

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investigation, Plaintiff may, in addition to moving for class certification, use modified definitions

of the class, class claims, and the class period, and/or seek class certification only as to particular

issues as permitted under Rule 23. Such modified definitions may be more expansive to include

consumers excluded from the foregoing definitions.

                                           COUNT I
                     Violations of the Telephone Consumer Protection Act
                                      47 U.S.C. § 227(c)(5)
                                       Do-Not-Call Claim

        59.    Ms. McMurray re-alleges and incorporates by reference each preceding paragraph

as though fully set forth herein.

        60.    McMurray brings this Count individually and on behalf of all others similarly

situated.

        61.    The TCPA prohibits any person or entity of initiating any telephone solicitation to

a residential telephone subscriber who has registered her or his telephone number on the National

Do-Not-Call Registry of persons who do not wish to receive telephone solicitations that is

maintained by the Federal Government. 47 U.S.C. § 227(c).

        62.    Defendants called Plaintiff for solicitation purposes despite the fact her number had

been on the Do Not Call Registry since November 2022.

        63.    Defendants called Plaintiff and the putative class members on multiple occasions

during a single calendar year despite registration on the Do Not Call list.

        64.    Defendant’s acts as described above were done with malicious, intentional, willful,

reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the purpose

of harassing Plaintiff and the putative class members.




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       65.      The acts and/or omissions of Defendant were done unfairly, unlawfully,

intentionally, and absent bona fide error or good faith mistake.

       66.      As a result of the above violations of the TCPA, Plaintiff has suffered the losses

and damages as set forth above entitling Plaintiff to an award of statutory, actual and treble

damages.



                                       Prayer for Judgment

       WHEREFORE, Plaintiff, DELOISE MCMURRAY, individually, and or on behalf of all

other similarly situated, requests the Court grant the following relief:

             a. Enter an order against Defendants pursuant to Federal Rule of Civil

                Procedure 23(a), (b)(2) and (b)(3), certifying this action as a class action

                and appointing Ms. McMurray as the class representative;

             b. Enter an order appointing Kazerouni Law Group, APC as class counsel;

             c. Enter judgment in favor of Ms. McMurray and the putative class for all

                damages available under the TCPA, including statutory damages of $500

                per violation of 47 U.S.C. § 227(c) and up to $1,500 per violation of each

                subsection if Defendant willfully violated the TCPA;

             d. Enter injunctive relief against both Defendant as permitted under the TCPA;

             e. Award Ms. McMurray and the class all expenses of this action, and

                requiring Defendant to pay the costs and expenses of class notice and

                administration; and

             f. Award Ms. McMurray and the class such further and other relief the Court

                deems just and appropriate.

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                            DEMAND FOR JURY TRIAL

        PLEASE TAKE NOTICE that Plaintiff, DELOISE MCMURRAY, demands a jury trial in

this case.



Dated: February 12, 2024               Respectfully submitted,

                                       KAZEROUNI LAW GROUP, APC

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